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RALPH COLEMAN, et al.,
Plaintiffs,
v.

EDMUND G. BROWN JR., et al.,

IN THE UNITED STATES DISTRICT GobRrs Bi 8R0
FOR THE EASTERN DISTRICT OF CALIFGE RPE ier Fogel
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,
v.

EDMUND G. BROWN JR., et al.,

Defendants.

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NO. CIV S-90-0520 LKK JFM P
THREE-JUDGE COURT

NO. C01-1351 TEH
THREE-JUDGE COURT

ORDER DENYING REQUEST
FOR HEARING BY INMATES

CLARK AND SAIF’ULLAH

On July 19, 2011, this Court rejected a request by inmates Thomas M. Clark and
Khalifa E.D. Saif'ullah to be appointed as counsel so that they may request an order releasing
“Indeterminately Sentenced prisoners who have exceeded their minimum term
requirements.” The Court noted in a footnote that “[t]he inmates reference documents
submitted for filing on June 9, 2010, but this Court has no record of any such documents.”
July 19, 2011 Order at 1 n.1. The inmates have now re-submitted the documents previously
sent in June 2010 along with the attached request for a hearing. Upon review of the inmates’

submission, the Court continues to be unpersuaded that class counsel’s representation is

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IT IS SO ORDERED.

Dated: Sze LI,

inadequate, nor does the Court find an evidentiary hearing to be necessary at this time.

Accordingly, with good cause appearing, the inmates’ request is DENIED.

On behalf of the Court:!

Ly OL 6 : a (
THELTON E. HENDERSON

SENIOR UNITED STATES DISTRICT JUDGE
NORTHERN DISTRICT OF CALIFORNIA

'A single judge is authorized to make this ruling under 28 U.S.C. § 2284(b)(3).

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